                                       Case 22-50527                  Doc 1    Filed 09/13/22             Page 1 of 82
                                                                                                                                                         9/13/22 12:38PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF NORTH CAROLINA

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         06/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Aric                                                             Charity
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Richard                                                          Ann
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Montgomery                                                       Montgomery
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have                                                                       Charity Ann LeBaron
     used in the last 8 years                                                                       Charity Ann Govier
                                                                                                    Charity Ann Davis
     Include your married or
     maiden names.                                                                                  Charity Ann Honeycutt



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-3435                                                      xxx-xx-6326
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 1
                                       Case 22-50527              Doc 1         Filed 09/13/22       Page 2 of 82
                                                                                                                                                  9/13/22 12:38PM

Debtor 1   Aric Richard Montgomery
Debtor 2   Charity Ann Montgomery                                                                    Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 164 Lamore Court
                                 Winston Salem, NC 27107
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Davidson
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,           Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any              have lived in this district longer than in any other
                                        other district.                                               district.

                                        I have another reason.                                        I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                              Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 2
                                     Case 22-50527                  Doc 1       Filed 09/13/22            Page 3 of 82
                                                                                                                                                     9/13/22 12:38PM

Debtor 1    Aric Richard Montgomery
Debtor 2    Charity Ann Montgomery                                                                        Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 3
                                       Case 22-50527               Doc 1       Filed 09/13/22              Page 4 of 82
                                                                                                                                                   9/13/22 12:38PM

Debtor 1    Aric Richard Montgomery
Debtor 2    Charity Ann Montgomery                                                                         Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                   page 4
                                        Case 22-50527                Doc 1         Filed 09/13/22       Page 5 of 82
                                                                                                                                                    9/13/22 12:38PM

Debtor 1    Aric Richard Montgomery
Debtor 2    Charity Ann Montgomery                                                                     Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling
                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 5
                                     Case 22-50527                Doc 1        Filed 09/13/22             Page 6 of 82
                                                                                                                                                       9/13/22 12:38PM

Debtor 1    Aric Richard Montgomery
Debtor 2    Charity Ann Montgomery                                                                        Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Aric Richard Montgomery                                       /s/ Charity Ann Montgomery
                                 Aric Richard Montgomery                                           Charity Ann Montgomery
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     September 13, 2022                                Executed on     September 13, 2022
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 6
                                     Case 22-50527                       Doc 1   Filed 09/13/22           Page 7 of 82
                                                                                                                                                    9/13/22 12:38PM

Debtor 1   Aric Richard Montgomery
Debtor 2   Charity Ann Montgomery                                                                         Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Damon T. Duncan                                                Date         September 13, 2022
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Damon T. Duncan
                                Printed name

                                Duncan Law, LLP
                                Firm name

                                628 Green Valley Rd. #304
                                Greensboro, NC 27408
                                Number, Street, City, State & ZIP Code

                                                                                                                   DamonDuncan@DuncanLawOnline.c
                                Contact phone     336-856-1234                               Email address         om
                                39650 NC
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
                                            Case 22-50527                       Doc 1           Filed 09/13/22                    Page 8 of 82
                                                                                                                                                                                9/13/22 12:38PM


Fill in this information to identify your case:

Debtor 1                   Aric Richard Montgomery
                           First Name                           Middle Name                          Last Name

Debtor 2                   Charity Ann Montgomery
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  MIDDLE DISTRICT OF NORTH CAROLINA

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             229,210.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              94,859.20

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             324,069.20

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             298,304.88

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                      0.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $             131,192.52


                                                                                                                                    Your total liabilities $               429,497.40


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $              13,768.53

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                5,343.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2
                                  Case 22-50527               Doc 1        Filed 09/13/22              Page 9 of 82
                                                                                                                                      9/13/22 12:38PM

Debtor 1    Aric Richard Montgomery
Debtor 2    Charity Ann Montgomery                                                      Case number (if known)
           the court with your other schedules.

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                             $   6,749.73


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $                 0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $                 0.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                 0.00

     9d. Student loans. (Copy line 6f.)                                                                 $            38,367.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                 0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                 0.00


     9g. Total. Add lines 9a through 9f.                                                           $             38,367.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
                                             Case 22-50527                           Doc 1        Filed 09/13/22                Page 10 of 82
                                                                                                                                                                           9/13/22 12:38PM


Fill in this information to identify your case and this filing:

Debtor 1                    Aric Richard Montgomery
                            First Name                                 Middle Name                    Last Name

Debtor 2                    Charity Ann Montgomery
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      MIDDLE DISTRICT OF NORTH CAROLINA

Case number                                                                                                                                                        Check if this is an
                                                                                                                                                                   amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                            12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       164 Lamore Court                                                               Single-family home                            Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                           the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                    Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                   Current value of the       Current value of the
       Winston Salem                     NC        27107-0000                         Land                                         entire property?           portion you own?
       City                              State              ZIP Code                  Investment property                                 $229,210.00                 $229,210.00
                                                                                      Timeshare
                                                                                                                                    Describe the nature of your ownership interest
                                                                                      Other                                         (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one       a life estate), if known.
                                                                                      Debtor 1 only                                 Tenancy by the Entirety
       Davidson                                                                       Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                        Check if this is community property
                                                                                      At least one of the debtors and another           (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:
                                                                               Value Determined by County Tax Records
                                                                               Joint


2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                         $229,210.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                      page 1
                                       Case 22-50527                    Doc 1         Filed 09/13/22                Page 11 of 82
                                                                                                                                                                   9/13/22 12:38PM

Debtor 1         Aric Richard Montgomery
Debtor 2         Charity Ann Montgomery                                                                            Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      Kia                                      Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Sportage                                    Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2022                                        Debtor 2 only
                                                                                                                             Current value of the      Current value of the
         Approximate mileage:                20,000             Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         VIN #: KNDPM3AC2N7995389
         Includes: N/A                                          Check if this is community property                                  $27,360.00                 $27,360.00
         Value Determined by 90% of                              (see instructions)

         NADA Clean Retail Value
         Joint


  3.2    Make:      Toyota                                   Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Sienna                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2019                                        Debtor 2 only
                                                                                                                             Current value of the      Current value of the
         Approximate mileage:                90,000             Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         VIN #: 5TDXZ3DC2KS999196
         Includes: Rear Parking Sensors,                        Check if this is community property                                  $30,667.50                 $30,667.50
         Power Sunroof                                           (see instructions)

         Value Determined by 90% of
         NADA Clean Retail Value
         Joint


  3.3    Make:      Toyota                                   Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Tundra                                      Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2017                                        Debtor 2 only
                                                                                                                             Current value of the      Current value of the
         Approximate mileage:                40,000             Debtor 1 and Debtor 2 only                                   entire property?          portion you own?
         Other information:                                     At least one of the debtors and another
         VIN #: 5TFRM5F11HX122068
         Includes: 4.6L V8 Engine                               Check if this is community property                                  $27,337.50                 $27,337.50
         Value Determined by 90% of                              (see instructions)

         NADA Clean Retail Value
         Joint


4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $85,365.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
Official Form 106A/B                                                   Schedule A/B: Property                                                                            page 2
                                  Case 22-50527               Doc 1        Filed 09/13/22            Page 12 of 82
                                                                                                                                                 9/13/22 12:38PM

Debtor 1      Aric Richard Montgomery
Debtor 2      Charity Ann Montgomery                                                                Case number (if known)

      Yes. Describe.....

                               Household Goods & Furnishings: Three Twin Beds and
                               Mattresses, Coffee Table
                               Value Determined by Used Replacement Cost
                               Joint                                                                                                             $3,500.00


                               Household Goods and Furnishings: Stove, Dishwasher,
                               Refrigerator
                               Value Determined by Used Replacement Cost
                               Joint                                                                                                               $500.00


                               Household Goods & Furnishings: Mattress
                               Value Determined by Used Replacement Cost
                               Joint                                                                                                               $150.00


                               Household Goods & Furnishings:
                               Living room, dining room, kitchen, bedrooms and any other
                               miscellaneous household goods and furnishings
                               Value Determined by Used Replacement Cost
                               Joint                                                                                                             $1,200.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               Televisions, radios, computers, DVD player and DVDs, tablets,
                               phones, game consoles and other miscellaneous electronics
                               Value Determined by Used Replacement Cost
                               Joint                                                                                                               $500.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
      Yes. Describe.....

                               Miscellaneous sports and hobby equipment
                               Value Determined by Debtor's Best Estimate
                               Joint                                                                                                                $50.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....




Official Form 106A/B                                         Schedule A/B: Property                                                                    page 3
                                  Case 22-50527            Doc 1        Filed 09/13/22            Page 13 of 82
                                                                                                                                      9/13/22 12:38PM

Debtor 1     Aric Richard Montgomery
Debtor 2     Charity Ann Montgomery                                                              Case number (if known)


                              Primary Firearm & Any Miscellaneous Ammunition and
                              Accessories: Aero Precision AR 15
                              Value Determined by Debtor's Best Estimate
                              Debtor 1                                                                                                 $300.00


                              Secondary Firearm & Any Miscellaneous Ammunition and
                              Accessories: Tarus PT709
                              Value Determined by Debtor's Best Estimate
                              Debtor 1                                                                                                 $150.00


11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                              Debtor 1's Wearing Apparel & Clothing
                              Value Determined by Used Replacement Cost
                              Debtor 1                                                                                                 $500.00


                              Debtor 2's Wearing Apparel & Clothing
                              Value Determined by Used Replacement Cost
                              Debtor 2                                                                                                 $750.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

                              Wedding Jewelry
                              Value Determined by Used Replacement Cost
                              Debtor 2                                                                                                 $300.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
      Yes. Describe.....

                              Cats
                              Value Determined by Debtor's Best Estimate
                              Joint                                                                                                      $50.00


                              Dogs
                              Value Determined by Debtor's Best Estimate
                              Joint                                                                                                      $50.00


14. Any other personal and household items you did not already list, including any health aids you did not list
      No
      Yes. Give specific information.....


15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................              $8,000.00


Part 4: Describe Your Financial Assets
Official Form 106A/B                                       Schedule A/B: Property                                                           page 4
                                               Case 22-50527                              Doc 1              Filed 09/13/22   Page 14 of 82
                                                                                                                                                                    9/13/22 12:38PM

Debtor 1        Aric Richard Montgomery
Debtor 2        Charity Ann Montgomery                                                                                        Case number (if known)

Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                       portion you own?
                                                                                                                                                       Do not deduct secured
                                                                                                                                                       claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
      Yes................................................................................................................

                                                                                                                                 Cash on Hand
                                                                                                                                 Value
                                                                                                                                 Determined
                                                                                                                                 by Actual
                                                                                                                                 Cash Value
                                                                                                                                 Joint                                 $50.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:
                                                                                                Checking Account #1
                                                                                                Name of Bank: USAA
                                                                                                Last Four of Account #: 4852
                                            17.1.       Checking                                Joint                                                                  $36.20

                                                                                                Checking Account #2
                                                                                                Name of Bank: USAA
                                                                                                Last Four of Account #: 7193
                                                                                                Joint and Non-Filing Person (Debtor 1's
                                            17.2.       Checking                                Cousin)                                                              $231.34

                                                                                                Checking Account #3
                                                                                                Name of Bank: USAA
                                                                                                Last Four of Account #: 2404
                                                                                                Joint and Non-Filing Person (Debtor 1's
                                            17.3.       Checking                                Parents)                                                                 $0.66

                                                                                                **EMPTY**
                                                                                                Checking Account #4
                                                                                                Name of Bank: USAA
                                                                                                Last Four of Account #: 2786
                                            17.4.       Checking                                Joint and Non-Filing Person                                              $0.00

                                                                                                Savings Account #1
                                                                                                Name of Bank: PenFed Credit Union
                                                                                                Last Four of Account #: 4012
                                            17.5.       Savings                                 Joint                                                                    $5.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                               % of ownership:



Official Form 106A/B                                                                     Schedule A/B: Property                                                           page 5
                                          Case 22-50527               Doc 1        Filed 09/13/22            Page 15 of 82
                                                                                                                                                     9/13/22 12:38PM

Debtor 1        Aric Richard Montgomery
Debtor 2        Charity Ann Montgomery                                                                      Case number (if known)

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
     No
      Yes. List each account separately.
                              Type of account:                            Institution name:

                                        403(b)                            Plan Administrator: Principal
                                                                          Employer: Hospice of Surry County
                                                                          Value Determined by Debtor(s) Most Recent
                                                                          Statement
                                                                          *ERISA Qualified*
                                                                          100% of Fair Market Value Exempted
                                                                          Debtor 2                                                                  $1,171.00


22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                          Current value of the
                                                                                                                                        portion you own?
                                                                                                                                        Do not deduct secured
                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 6
                                           Case 22-50527                       Doc 1            Filed 09/13/22                   Page 16 of 82
                                                                                                                                                                          9/13/22 12:38PM

Debtor 1        Aric Richard Montgomery
Debtor 2        Charity Ann Montgomery                                                                                          Case number (if known)

29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
       No
       Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
       No
       Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
       Yes. Name the insurance company of each policy and list its value.
                                Company name:                                                                        Beneficiary:                             Surrender or refund
                                                                                                                                                              value:

                                            Whole Life Insurance Policy - No Cash
                                            Surrender Value
                                            Value Determined by Cash Surrender
                                            Amount on Recent Statement
                                            Debtor 1                                                                 Debtor 2                                                  $0.00


                                            Term Life Insurance Policy
                                            **Notice Only, No Cash Surrender
                                            Value**
                                            Debtor 2                                                                 Debtor 1                                                  $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
       No
       Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No
       Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
       No
       Yes. Describe each claim.........

35. Any financial assets you did not already list
       No
       Yes. Give specific information..


36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................           $1,494.20


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.




Official Form 106A/B                                                          Schedule A/B: Property                                                                            page 7
                                             Case 22-50527                         Doc 1             Filed 09/13/22                     Page 17 of 82
                                                                                                                                                                         9/13/22 12:38PM

Debtor 1         Aric Richard Montgomery
Debtor 2         Charity Ann Montgomery                                                                                                Case number (if known)

Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                  $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................          $229,210.00
56. Part 2: Total vehicles, line 5                                                                           $85,365.00
57. Part 3: Total personal and household items, line 15                                                       $8,000.00
58. Part 4: Total financial assets, line 36                                                                   $1,494.20
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $94,859.20              Copy personal property total       $94,859.20

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $324,069.20




Official Form 106A/B                                                              Schedule A/B: Property                                                                       page 8
                             Case 22-50527           Doc 1      Filed 09/13/22         Page 18 of 82
                                                                                                                             9/13/22 12:38PM

91C (4/21)
                                           UNITED STATES BANKRUPTCY COURT
                                          MIDDLE DISTRICT OF NORTH CAROLINA

In the Matter of:                                                )
Aric Richard Montgomery                                          )       Case No.
Charity Ann Montgomery
                                                                 )
                                                                 )       DEBTOR'S CLAIM FOR PROPERTY EXEMPTIONS
                                                                 )
                                         Debtor.                 )

NOTE: You must complete this form in addition to Official Form 106C (Schedule ‘C’) to claim property as exempt if: (1) your
domicile was located in North Carolina for the 730 days immediately preceding the date of the filing of the petition, or (2) your
domicile was not located in a single state for those 730 days, but your domicile was located in North Carolina for 180 days
immediately preceding the 730-day period or for a longer portion of such 180-day period than in any other place. For more
information, please refer to Local Rule 4003-1 of the United States Bankruptcy Court for the Middle District of North Carolina.
Schedule ‘C’ may be found at https://www.uscourts.gov/forms/bankruptcy-forms.


I, Aric Richard Montgomery , the undersigned Debtor, hereby claim the following property as exempt pursuant to 11 U.S.C. §
522(b)(3)(A), (B), and (C), the Laws of the State of North Carolina, and non-bankruptcy federal law.

1.       REAL OR PERSONAL PROPERTY USED BY DEBTOR OR DEBTOR'S DEPENDENT AS RESIDENCE OR
         BURIAL PLOT. (NCGS 1C-1601(a)(1)).
         Select appropriate exemption amount below:
                  Total net value not to exceed $35,000.
                  Total net value not to exceed $60,000. (Debtor is unmarried, 65 years of age or older, property was previously
                  owned by Debtor as tenant by the entireties or joint tenant with rights of survivorship, and former co-owner is
                  deceased.)

Description of                                 Market      Mtg. Holder or Lien                       Amt. Mtg.                     Net
Property & Address                              Value      Holder(s)                                   or Lien                   Value
164 Lamore Court Winston
Salem, NC 27107 Davidson
County
Value Determined by County
Tax Records                                                Flagstar Bank, FSB                        170,407.90
Joint                                       229,210.00     Flagstar Bank, FSB                         39,457.65             19,344.45

                           (a) Total Net Value                                                   $                 19,344.45
                           Total Net Exemption                                                   $                 30,000.00
                           (b) Unused portion of exemption, not to exceed $5,000.                $                  5,000.00
                           (This amount, if any, may be carried forward and used to claim
                           an exemption in any property owned by the Debtor. (NCGS
                           1C-1601(a)(2)).

2.       TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522(b)(3)(B) and
         the laws of the State of North Carolina pertaining to property held as tenants by the entirety.

Description of                                 Market      Mtg. Holder or Lien                       Amt. Mtg.                     Net
Property & Address                              Value      Holder(s)                                   or Lien                   Value
-NONE-

3.       MOTOR VEHICLE. (NCGS 1C-1601(a)(3). Only one vehicle allowed under this paragraph with net value claimed as
         exempt not to exceed $3,500.)

Year, Make,                                    Market                                                                              Net
Model of Auto                                   Value      Lien Holder(s)                            Amt. Lien                   Value
                           Case 22-50527           Doc 1       Filed 09/13/22   Page 19 of 82
                                                                                                                9/13/22 12:38PM

91C (4/21)
 Year, Make,                                 Market                                                                   Net
 Model of Auto                                Value     Lien Holder(s)                        Amt. Lien             Value
2017 Toyota Tundra 40,000
miles
VIN #: 5TFRM5F11HX122068
Includes: 4.6L V8 Engine
Value Determined by 90% of
NADA Clean Retail Value
Joint                                      27,337.50    Ally Bank                             16,115.00         11,222.50

(a) Statutory allowance                                               $              3,500
(b) Amount from 1 (b) above to be used in this paragraph.
    (A part or all of 1 (b) may be used as needed.)                   $            2,111.15

                                               Total Net Exemption    $            5,611.15

4.       TOOLS OF TRADE, IMPLEMENTS, OR PROFESSIONAL BOOKS. (NCGS 1C-1601(a)(5). Used by Debtor or
         Debtor's dependent. Total net value of all items claimed as exempt not to exceed $2,000.)

                                             Market                                                                   Net
Description                                   Value     Lien Holder(s)                        Amt. Lien             Value
-NONE-

(a) Statutory allowance                                               $              2,000
(b) Amount from 1 (b) above to be used in this paragraph.
    (A part or all of 1 (b) may be used as needed.)                   $

                                               Total Net Exemption    $                0.00

5.       PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES NEEDED BY DEBTOR OR
         DEBTOR'S DEPENDENTS. (NCGS 1C-1601(a)(4). Debtor's aggregate interest, not to exceed $5,000 in value for the
         Debtor plus $1,000 for each dependent of the Debtor, not to exceed $4,000 total for dependents.)

                                             Market                                                                   Net
Description                                   Value     Lien Holder(s)                        Amt. Lien             Value
Debtor 1's Wearing Apparel &
Clothing
Value Determined by Used
Replacement Cost
Debtor 1                                      500.00                                                               500.00
Household Goods &
Furnishings: Three Twin Beds
and Mattresses, Coffee Table
Value Determined by Used
Replacement Cost                                        Badcock Home Furniture &
Joint                                       3,500.00    More                                   3,712.65                 0.00
Household Goods &
Furnishings: Mattress
Value Determined by Used
Replacement Cost
Joint                                         150.00    Vive                                   2,292.43                 0.00
Household Goods &
Furnishings:
Living room, dining room,
kitchen, bedrooms and any
other miscellaneous
household goods and
furnishings
Value Determined by Used
Replacement Cost
Joint                                       1,200.00                                                             1,200.00
                           Case 22-50527          Doc 1      Filed 09/13/22       Page 20 of 82
                                                                                                                       9/13/22 12:38PM

91C (4/21)
                                            Market                                                                            Net
Description                                  Value     Lien Holder(s)                           Amt. Lien                   Value
Household Goods and
Furnishings: Stove,
Dishwasher, Refrigerator
Value Determined by Used
Replacement Cost
Joint                                        500.00    Conn's, Inc.                               2,082.88                    0.00
Miscellaneous sports and
hobby equipment
Value Determined by Debtor's
Best Estimate
Joint                                         50.00                                                                          50.00
Primary Firearm & Any
Miscellaneous Ammunition
and Accessories: Aero
Precision AR 15
Value Determined by Debtor's
Best Estimate
Debtor 1                                     300.00                                                                         300.00
Televisions, radios,
computers, DVD player and
DVDs, tablets, phones, game
consoles and other
miscellaneous electronics
Value Determined by Used
Replacement Cost
Joint                                        500.00                                                                         500.00

                                                                                       Total Net Value                  2,550.00

(a) Statutory allowance for Debtor                                      $               5,000
(b) Statutory allowance for Debtor's dependents: 4 dependents at
$1,000 each (not to exceed $4,000 total for dependents)                              4,000.00
(c) Amount from 1(b) above to be used in this paragraph.
    (A part or all of 1 (b) may be used as needed.)

                                                                                  Total Net Exemption                   1,675.00

6.      LIFE INSURANCE. (NCGS 1C-1601(a)(6) and Article X, Section 5 of North Carolina Constitution.)

       Name of Insurance Company\Policy No.\Name of Insured\Policy Date\Name of Beneficiary
       Whole Life Insurance Policy - No Cash Surrender Value
              Value Determined by Cash Surrender Amount on Recent Statement
              Debtor 1
              Beneficiary: Debtor 2

7.      PROFESSIONALLY PRESCRIBED HEALTH AIDS (FOR DEBTOR OR DEBTOR'S DEPENDENTS).
        (NCGS 1C-1601(a)(7). No limit on value.)

       Description:
       -NONE-

8.      DEBTOR'S RIGHT TO RECEIVE FOLLOWING COMPENSATION: (NCGS 1C-1601(a)(8). No limit on number or
        amount.)

       A. $           -NONE- Compensation for personal injury, including compensation from private disability policies or
                               annuities.
       B. $           -NONE- Compensation for death of person of whom Debtor was dependent for support.
                            Case 22-50527           Doc 1       Filed 09/13/22        Page 21 of 82
                                                                                                                            9/13/22 12:38PM

91C (4/21)

9.      INDIVIDUAL RETIREMENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY PLAN
        TREATED IN THE SAME MANNER AS AN INDIVIDUAL RETIREMENT PLAN UNDER THE INTERNAL
        REVENUE CODE. (NCGS 1C-1601(a)(9). No limit on number or amount.) AND OTHER RETIREMENT FUNDS
        DEFINED IN 11 U.S.C. § 522(b)(3)(c).

       Detailed Description                                                                                      Value
       -NONE-

10.     COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE.
        (NCGS 1C-1601(a)(10). Total net value not to exceed $25,000 and may not include any funds placed in a college savings
        plan within the preceding 12 months, except to the extent any of the contributions were made in the ordinary course of
        Debtor’s financial affairs and were consistent with Debtor’s past pattern of contributions. This exemption applies only to the
        extent that the funds are for a child of Debtor and will actually be used for the child’s college or university expenses.)

       Detailed Description                                                                                      Value
       -NONE-

11.     RETIREMENT BENEFITS UNDER A RETIREMENT PLAN OF OTHER STATE AND GOVERNMENTAL
        UNITS OF OTHER STATES, TO THE EXTENT THOSE BENEFITS ARE EXEMPT UNDER THE LAWS OF
        THAT STATE OR GOVERNMENTAL UNIT. (NCGS 1C-1601(a)(11). No limit on amount.)

       Description:
       -NONE-

12.     ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT
        HAVE BEEN RECEIVED OR TO WHICH DEBTOR IS ENTITLED. (NCGS 1C-1601(a)(12). No limit on amount to
        the extent such payments are reasonably necessary for the support of Debtor or a dependent of Debtor.)

       Description:
       -NONE-

13.     ANY OTHER REAL OR PERSONAL PROPERTY WHICH DEBTOR DESIRES TO CLAIM AS EXEMPT THAT
        HAS NOT PREVIOUSLY BEEN CLAIMED ABOVE. (NCGS 1C-1601(a)(2). The amount claimed may not exceed the
        remaining amount available under paragraph 1(b) which has not been used for other exemptions.)

                                                                                                                               Value
                                    Market                                                                       Net      Claimed as
Description                          Value      Lien Holder(s)                        Amt. Lien                Value         Exempt
2017 Toyota Tundra
40,000 miles
VIN #:
5TFRM5F11HX122068
Includes: 4.6L V8
Engine
Value Determined by
90% of NADA Clean
Retail Value
Joint                             27,337.50     Ally Bank                             16,115.00            11,222.50         2,111.25
2019 Toyota Sienna
90,000 miles
VIN #:
5TDXZ3DC2KS999196
Includes: Rear Parking
Sensors, Power
Sunroof
Value Determined by
90% of NADA Clean
Retail Value
Joint                             30,667.50     PenFed Credit Union                   45,032.37                  0.00              0.00
                          Case 22-50527     Doc 1     Filed 09/13/22   Page 22 of 82
                                                                                                   9/13/22 12:38PM

91C (4/21)
                                                                                                       Value
                              Market                                                       Net    Claimed as
Description                    Value     Lien Holder(s)                Amt. Lien         Value       Exempt
2022 Kia Sportage
20,000 miles
VIN #:
KNDPM3AC2N7995389
Includes: N/A
Value Determined by
90% of NADA Clean
Retail Value                             Wells Fargo Bank,
Joint                        27,360.00   National Association          19,204.00       8,156.00     2,525.98
Cash on Hand
Value Determined by
Actual Cash Value
Joint                           50.00                                                    50.00          25.00
Cats
Value Determined by
Debtor's Best Estimate
Joint                           50.00                                                    50.00          25.00
Checking: **EMPTY**
Checking Account #4
Name of Bank: USAA
Last Four of Account #:
2786
Joint and Non-Filing                                                                     0.00
Person                            0.00                                             66% owned              0.00
Checking: Checking
Account #1
Name of Bank: USAA
Last Four of Account #:
4852
Joint                           36.20                                                    36.20          18.10
Checking: Checking
Account #3
Name of Bank: USAA
Last Four of Account #:
2404
Joint and Non-Filing
Person (Debtor 1's                                                                       0.66
Parents)                          1.00                                             66% owned              0.33
Checking: Checking
Account #2
Name of Bank: USAA
Last Four of Account #:
7193
Joint and Non-Filing
Person (Debtor 1's                                                                     231.34
Cousin)                        350.51                                              66% owned          116.84
Dogs
Value Determined by
Debtor's Best Estimate
Joint                           50.00                                                    50.00          25.00
Savings: Savings
Account #1
Name of Bank: PenFed
Credit Union
Last Four of Account #:
4012
Joint                             5.00                                                     5.00           2.50
                             Case 22-50527           Doc 1       Filed 09/13/22        Page 23 of 82
                                                                                                                              9/13/22 12:38PM

91C (4/21)
                                                                                                                                  Value
                                     Market                                                                         Net      Claimed as
Description                           Value      Lien Holder(s)                       Amt. Lien                   Value         Exempt
Secondary Firearm &
Any Miscellaneous
Ammunition and
Accessories: Tarus
PT709
Value Determined by
Debtor's Best Estimate
Debtor 1                              150.00                                                                   150.00            150.00
Term Life Insurance
Policy
**Notice Only, No Cash
Surrender Value**
Debtor 2
Beneficiary: Debtor 1                    0.00                                                                      0.00              1.00

(a) Total Net Value of property claimed in paragraph 13.                                         $                    8,729.20

(b) Total amount available from paragraph 1(b).                                                  $                    5,000.00
(c) Less amounts from paragraph 1(b) which were used in the following paragraphs:
                                     Paragraph 3(b)               $              2,111.15
                                     Paragraph 4(b)               $
                                      Paragraph 5(c)              $
                                                Net Balance Available from paragraph 1(b)        $                    2,888.85
                                                                     Total Net Exemption         $                    2,888.85

14.      OTHER EXEMPTIONS CLAIMED UNDER THE LAWS OF THE STATE OF NORTH CAROLINA:

      -NONE-
      TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                                               $                      0.00

15.      EXEMPTIONS CLAIMED UNDER NON-BANKRUPTCY FEDERAL LAW:

      -NONE-
      TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                                               $                      0.00

16. RECENT PURCHASES

The exemptions provided in NCGS 1C-1601(a)(2), (3), (4), and (5) are inapplicable with respect to tangible personal property
purchased by the Debtor less than 90 days preceding the initiation of judgment collection proceedings or the filing of a petition for
bankruptcy, unless the purchase of the property is directly traceable to the liquidation or conversion of property that may be exempt
and no additional property was transferred into or used to acquire the replacement property.

List tangible personal property purchased by the Debtor less than 90 days preceding the filing of the bankruptcy petition:
                                               Market                                                                               Net
Description                                      Value Lien Holder(s)                                 Amt. Lien                   Value
-NONE-

DATE September 13, 2022                                            /s/ Aric Richard Montgomery
                                                                   Aric Richard Montgomery
                                                                   Debtor
                             Case 22-50527           Doc 1      Filed 09/13/22         Page 24 of 82
                                                                                                                             9/13/22 12:38PM

91C (4/21)
                                           UNITED STATES BANKRUPTCY COURT
                                          MIDDLE DISTRICT OF NORTH CAROLINA

In the Matter of:                                                )
Aric Richard Montgomery                                          )       Case No.
Charity Ann Montgomery
                                                                 )
                                                                 )       DEBTOR'S CLAIM FOR PROPERTY EXEMPTIONS
                                                                 )
                                         Debtor.                 )

                               DEBTOR'S CLAIM FOR PROPERTY EXEMPTIONS
NOTE: You must complete this form in addition to Official Form 106C (Schedule ‘C’) to claim property as exempt if: (1) your
domicile was located in North Carolina for the 730 days immediately preceding the date of the filing of the petition, or (2) your
domicile was not located in a single state for those 730 days, but your domicile was located in North Carolina for 180 days
immediately preceding the 730-day period or for a longer portion of such 180-day period than in any other place. For more
information, please refer to Local Rule 4003-1 of the United States Bankruptcy Court for the Middle District of North Carolina.
Schedule ‘C’ may be found at https://www.uscourts.gov/forms/bankruptcy-forms.

I, Charity Ann Montgomery , the undersigned Debtor, hereby claim the following property as exempt pursuant to 11 U.S.C. §
522(b)(3)(A), (B), and (C), the Laws of the State of North Carolina, and non-bankruptcy federal law.

1.       REAL OR PERSONAL PROPERTY USED BY DEBTOR OR DEBTOR'S DEPENDENT AS RESIDENCE OR
         BURIAL PLOT. (NCGS 1C-1601(a)(1)).
         Select appropriate exemption amount below:
                  Total net value not to exceed $35,000.
                  Total net value not to exceed $60,000. (Debtor is unmarried, 65 years of age or older, property was previously
                  owned by Debtor as tenant by the entireties or joint tenant with rights of survivorship, and former co-owner is
                  deceased.)

Description of                                 Market      Mtg. Holder or Lien                       Amt. Mtg.                     Net
Property & Address                              Value      Holder(s)                                   or Lien                   Value
164 Lamore Court Winston
Salem, NC 27107 Davidson
County
Value Determined by County
Tax Records                                                Flagstar Bank, FSB                        170,407.90
Joint                                       229,210.00     Flagstar Bank, FSB                         39,457.65             19,344.45

                           (a) Total Net Value                                                   $                 19,344.45
                           Total Net Exemption                                                   $                 30,000.00
                           (b) Unused portion of exemption, not to exceed $5,000.                $                  5,000.00
                           (This amount, if any, may be carried forward and used to claim
                           an exemption in any property owned by the Debtor. (NCGS
                           1C-1601(a)(2)).

2.       TENANCY BY THE ENTIRETY. The following property is claimed as exempt pursuant to 11 U.S.C. § 522(b)(3)(B) and
         the laws of the State of North Carolina pertaining to property held as tenants by the entirety.

Description of                                 Market      Mtg. Holder or Lien                       Amt. Mtg.                     Net
Property & Address                              Value      Holder(s)                                   or Lien                   Value
-NONE-

3.       MOTOR VEHICLE. (NCGS 1C-1601(a)(3). Only one vehicle allowed under this paragraph with net value claimed as
         exempt not to exceed $3,500.)

Year, Make                                     Market                                                                              Net
Model of Auto                                   Value      Lien Holder(s)                            Amt. Lien                   Value
                           Case 22-50527          Doc 1           Filed 09/13/22   Page 25 of 82
                                                                                                                9/13/22 12:38PM

91C (4/21)
 Year, Make                                 Market                                                                    Net
 Model of Auto                               Value         Lien Holder(s)                        Amt. Lien          Value
2017 Toyota Tundra 40,000
miles
VIN #: 5TFRM5F11HX122068
Includes: 4.6L V8 Engine
Value Determined by 90% of
NADA Clean Retail Value
Joint                                      27,337.50       Ally Bank                             16,115.00      11,222.50

(a) Statutory allowance                                                  $              3,500
(b) Amount from 1(b) above to be used in this paragraph.
    (A part or all of 1(b) may be used as needed.)                       $            2,111.25

                                               Total Net Exemption       $            5,611.25

4.       TOOLS OF TRADE, IMPLEMENTS, OR PROFESSIONAL BOOKS. (NCGS 1C-1601(a)(5). Used by Debtor or
         Debtor's dependent. Total net value of all items claimed as exempt not to exceed $2,000.)

                                            Market                                                                    Net
Description                                  Value         Lien Holder(s)                        Amt. Lien          Value
-NONE-

(a) Statutory allowance                                                  $              2,000
(b) Amount from 1(b) above to be used in this paragraph.
    (A part or all of 1(b) may be used as needed.)                       $

                                               Total Net Exemption       $                0.00

5.       PERSONAL PROPERTY USED FOR HOUSEHOLD OR PERSONAL PURPOSES NEEDED BY DEBTOR OR
         DEBTOR'S DEPENDENTS. (NCGS 1C-1601(a)(4). Debtor's aggregate interest, not to exceed $5,000 in value for the
         Debtor plus $1,000 for each dependent of the Debtor, not to exceed $4,000 total for dependents.)

Description                                 Market                                                                    Net
of Property                                  Value         Lien Holder(s)                        Amt. Lien          Value
Debtor 2's Wearing Apparel &
Clothing
Value Determined by Used
Replacement Cost
Debtor 2                                      750.00                                                               750.00
Household Goods &
Furnishings: Three Twin Beds
and Mattresses, Coffee Table
Value Determined by Used
Replacement Cost                                           Badcock Home Furniture &
Joint                                       3,500.00       More                                   3,712.65              0.00
Household Goods &
Furnishings: Mattress
Value Determined by Used
Replacement Cost
Joint                                         150.00       Vive                                   2,292.43              0.00
Household Goods &
Furnishings:
Living room, dining room,
kitchen, bedrooms and any
other miscellaneous
household goods and
furnishings
Value Determined by Used
Replacement Cost
Joint                                       1,200.00                                                             1,200.00
                           Case 22-50527          Doc 1      Filed 09/13/22       Page 26 of 82
                                                                                                                       9/13/22 12:38PM

91C (4/21)
 Description                                Market                                                                            Net
 of Property                                 Value     Lien Holder(s)                           Amt. Lien                   Value
Household Goods and
Furnishings: Stove,
Dishwasher, Refrigerator
Value Determined by Used
Replacement Cost
Joint                                        500.00    Conn's, Inc.                               2,082.88                    0.00
Miscellaneous sports and
hobby equipment
Value Determined by Debtor's
Best Estimate
Joint                                         50.00                                                                          50.00
Televisions, radios,
computers, DVD player and
DVDs, tablets, phones, game
consoles and other
miscellaneous electronics
Value Determined by Used
Replacement Cost
Joint                                        500.00                                                                         500.00
Wedding Jewelry
Value Determined by Used
Replacement Cost
Debtor 2                                     300.00                                                                         300.00

                                                                                       Total Net Value                  2,800.00

(a) Statutory allowance for Debtor                                      $               5,000
(b) Statutory allowance for Debtor's dependents: 4 dependents at
$1,000 each (not to exceed $4,000 total for dependents)                              4,000.00
(c) Amount from 1(b) above to be used in this paragraph.
    (A part or all of 1(b) may be used as needed.)

                                                                                  Total Net Exemption                   1,925.00

6.      LIFE INSURANCE. (NCGS 1C-1601(a)(6) and Article X, Section 5 of North Carolina Constitution.)

       Name of Insurance Company\Policy No.\Name of Insured\Policy Date\Name of Beneficiary
       -NONE-

7.      PROFESSIONALLY PRESCRIBED HEALTH AIDS (FOR DEBTOR OR DEBTOR'S DEPENDENTS).
        (NCGS 1C-1601(a)(7). No limit on value.)

       Description:
       -NONE-

8.      DEBTOR'S RIGHT TO RECEIVE FOLLOWING COMPENSATION: (NCGS 1C-1601(a)(8). No limit on number or
        amount.)

       A. $           -NONE- Compensation for personal injury, including compensation from private disability policies or
                               annuities.
       B. $           -NONE- Compensation for death of person of whom Debtor was dependent for support.

9.      INDIVIDUAL RETIREMENT PLANS AS DEFINED IN THE INTERNAL REVENUE CODE AND ANY PLAN
        TREATED IN THE SAME MANNER AS AN INDIVIDUAL RETIREMENT PLAN UNDER THE INTERNAL
        REVENUE CODE. (NCGS 1C-1601(a)(9). No limit on number or amount.) AND OTHER RETIREMENT FUNDS
        DEFINED IN 11 U.S.C. § 522(b)(3)(c).

       Detailed Description                                                                                  Value
       403(b): Plan Administrator: Principal                                                                            1,171.00
       Employer: Hospice of Surry County
       Value Determined by Debtor(s) Most Recent Statement
       *ERISA Qualified*
                            Case 22-50527           Doc 1       Filed 09/13/22        Page 27 of 82
                                                                                                                            9/13/22 12:38PM

91C (4/21)
       100% of Fair Market Value Exempted
       Debtor 2

10.     COLLEGE SAVINGS PLANS QUALIFIED UNDER SECTION 529 OF THE INTERNAL REVENUE CODE.
        (NCGS 1C-1601(a)(10). Total net value not to exceed $25,000 and may not include any funds placed in a college savings
        plan within the preceding 12 months, except to the extent any of the contributions were made in the ordinary course of
        Debtor’s financial affairs and were consistent with Debtor’s past pattern of contributions. This exemption applies only to the
        extent that the funds are for a child of Debtor and will actually be used for the child’s college or university expenses.)

       Detailed Description                                                                                      Value
       -NONE-

11.     RETIREMENT BENEFITS UNDER A RETIREMENT PLAN OF OTHER STATE AND GOVERNMENTAL
        UNITS OF OTHER STATES, TO THE EXTENT THOSE BENEFITS ARE EXEMPT UNDER THE LAWS OF
        THAT STATE OR GOVERNMENTAL UNIT. (NCGS 1C-1601(a)(11). No limit on amount.)

       Description:
       -NONE-

12.     ALIMONY, SUPPORT, SEPARATE MAINTENANCE, AND CHILD SUPPORT PAYMENTS OR FUNDS THAT
        HAVE BEEN RECEIVED OR TO WHICH DEBTOR IS ENTITLED. (NCGS 1C-1601(a)(12). No limit on amount to
        the extent such payments are reasonably necessary for the support of Debtor or a dependent of Debtor.)

       Description:
       -NONE-

13.     ANY OTHER REAL OR PERSONAL PROPERTY WHICH DEBTOR DESIRES TO CLAIM AS EXEMPT THAT
        HAS NOT PREVIOUSLY BEEN CLAIMED ABOVE. (NCGS 1C-1601(a)(2). The amount claimed may not exceed the
        remaining amount available under paragraph 1(b) which has not been used for other exemptions.)

                                                                                                                               Value
                                    Market                                                                       Net      Claimed as
Description                          Value      Lien Holder(s)                        Amt. Lien                Value         Exempt
2017 Toyota Tundra
40,000 miles
VIN #:
5TFRM5F11HX122068
Includes: 4.6L V8
Engine
Value Determined by
90% of NADA Clean
Retail Value
Joint                             27,337.50     Ally Bank                             16,115.00            11,222.50         2,111.25
2019 Toyota Sienna
90,000 miles
VIN #:
5TDXZ3DC2KS999196
Includes: Rear Parking
Sensors, Power
Sunroof
Value Determined by
90% of NADA Clean
Retail Value
Joint                             30,667.50     PenFed Credit Union                   45,032.37                  0.00              0.00
2022 Kia Sportage
20,000 miles
VIN #:
KNDPM3AC2N7995389
Includes: N/A
Value Determined by
90% of NADA Clean
Retail Value                                    Wells Fargo Bank,
Joint                             27,360.00     National Association                  19,204.00             8,156.00         2,675.98
                            Case 22-50527          Doc 1     Filed 09/13/22       Page 28 of 82
                                                                                                                9/13/22 12:38PM

91C (4/21)
                                                                                                                   Value
                                    Market                                                            Net     Claimed as
Description                          Value     Lien Holder(s)                    Amt. Lien          Value        Exempt
Cash on Hand
Value Determined by
Actual Cash Value
Joint                                 50.00                                                          50.00           25.00
Cats
Value Determined by
Debtor's Best Estimate
Joint                                 50.00                                                          50.00           25.00
Checking: **EMPTY**
Checking Account #4
Name of Bank: USAA
Last Four of Account #:
2786
Joint and Non-Filing                                                                                  0.00
Person                                 0.00                                                     66% owned              0.00
Checking: Checking
Account #3
Name of Bank: USAA
Last Four of Account #:
2404
Joint and Non-Filing
Person (Debtor 1's                                                                                    0.66
Parents)                               1.00                                                     66% owned              0.33
Checking: Checking
Account #1
Name of Bank: USAA
Last Four of Account #:
4852
Joint                                 36.20                                                          36.20           18.10
Checking: Checking
Account #2
Name of Bank: USAA
Last Four of Account #:
7193
Joint and Non-Filing
Person (Debtor 1's                                                                                  231.34
Cousin)                              350.51                                                     66% owned           116.84
Dogs
Value Determined by
Debtor's Best Estimate
Joint                                 50.00                                                          50.00           25.00
Savings: Savings
Account #1
Name of Bank: PenFed
Credit Union
Last Four of Account #:
4012
Joint                                  5.00                                                           5.00             2.50

(a) Total Net Value of property claimed in paragraph 13.                                    $            8,579.20

(b) Total amount available from paragraph 1(b).                                             $            5,000.00
(c) Less amounts from paragraph 1(b) which were used in the following paragraphs:
                                     Paragraph 3(b)               $              2,111.25
                                     Paragraph 4(b)               $
                                      Paragraph 5(c)              $
                                                Net Balance Available from paragraph 1(b)   $            2,888.75
                                                                     Total Net Exemption    $            2,888.75

14.     OTHER EXEMPTIONS CLAIMED UNDER THE LAWS OF THE STATE OF NORTH CAROLINA:

      -NONE-
                             Case 22-50527           Doc 1       Filed 09/13/22        Page 29 of 82
                                                                                                                             9/13/22 12:38PM

91C (4/21)

      TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                                               $                     0.00

15.      EXEMPTIONS CLAIMED UNDER NON-BANKRUPTCY FEDERAL LAW:

      -NONE-
      TOTAL VALUE OF PROPERTY CLAIMED AS EXEMPT                                                               $                     0.00

16. RECENT PURCHASES

The exemptions provided in NCGS 1C-1601(a)(2), (3), (4), and (5) are inapplicable with respect to tangible personal property
purchased by the Debtor less than 90 days preceding the initiation of judgment collection proceedings or the filing of a petition for
bankruptcy, unless the purchase of the property is directly traceable to the liquidation or conversion of property that may be exempt
and no additional property was transferred into or used to acquire the replacement property.

List tangible personal property purchased by the Debtor less than 90 days preceding the filing of the bankruptcy petition:

                                               Market                                                                              Net
Description                                     Value      Lien Holder(s)                            Amt. Lien                   Value
-NONE-

DATE September 13, 2022                                            /s/ Charity Ann Montgomery
                                                                   Charity Ann Montgomery
                                                                   Joint Debtor
                                           Case 22-50527                 Doc 1             Filed 09/13/22         Page 30 of 82
                                                                                                                                                                9/13/22 12:38PM


Fill in this information to identify your case:

Debtor 1                   Aric Richard Montgomery
                           First Name                      Middle Name                       Last Name

Debtor 2                   Charity Ann Montgomery
(Spouse if, filing)        First Name                      Middle Name                       Last Name


United States Bankruptcy Court for the:             MIDDLE DISTRICT OF NORTH CAROLINA

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
2.1     Ally Bank                                Describe the property that secures the claim:                 $16,115.00               $27,337.50                     $0.00
        Creditor's Name                          2017 Toyota Tundra 40,000 miles
                                                 VIN #: 5TFRM5F11HX122068
                                                 Includes: 4.6L V8 Engine
                                                 Value Determined by 90% of NADA
        Attn: Officer                            Clean Retail Value
        200 West Civic Centre                    Joint
                                                 As of the date you file, the claim is: Check all that
        Drive, Suite 201                         apply.
        Sandy, UT 84070                              Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)    Purchase Money Security
      community debt

Date debt was incurred          10/2017                   Last 4 digits of account number        7124




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 5
                                           Case 22-50527                   Doc 1              Filed 09/13/22           Page 31 of 82
                                                                                                                                                    9/13/22 12:38PM



Debtor 1 Aric Richard Montgomery                                                                             Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 Charity Ann Montgomery
              First Name                  Middle Name                      Last Name


        Badcock Home Furniture
2.2                                                                                                                   $3,712.65        $3,500.00        $0.00
        & More                                     Describe the property that secures the claim:
        Creditor's Name                            Household Goods & Furnishings:
                                                   Three Twin Beds and Mattresses,
                                                   Coffee Table
                                                   Value Determined by Used
                                                   Replacement Cost
        Attn: Officer                              Joint
                                                   As of the date you file, the claim is: Check all that
        1409 10th Street                           apply.
        Lake Park, FL 33403                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)    Non-Purchase Money Security
      community debt

Date debt was incurred          01/2022                     Last 4 digits of account number         9528

2.3     Conn's, Inc.                               Describe the property that secures the claim:                      $2,082.88         $500.00    $1,582.88
        Creditor's Name                            Household Goods and Furnishings:
                                                   Stove, Dishwasher, Refrigerator
        Attn: Officer                              Value Determined by Used
        2445 Technology Forest                     Replacement Cost
        Blvd., Suite 800                           Joint
                                                   As of the date you file, the claim is: Check all that
        The Woodlands, TX                          apply.
        77381                                           Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)    Purchase Money Security
      community debt

Date debt was incurred          09/2020                     Last 4 digits of account number         3130




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 2 of 5
                                           Case 22-50527                   Doc 1              Filed 09/13/22           Page 32 of 82
                                                                                                                                                    9/13/22 12:38PM



Debtor 1 Aric Richard Montgomery                                                                             Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 Charity Ann Montgomery
              First Name                  Middle Name                      Last Name


2.4     Flagstar Bank, FSB                         Describe the property that secures the claim:                   $170,407.90        $229,210.00       $0.00
        Creditor's Name                            164 Lamore Court Winston Salem,
                                                   NC 27107 Davidson County
                                                   Value Determined by County Tax
                                                   Records
        Attn: Officer                              Joint
                                                   As of the date you file, the claim is: Check all that
        5151 Corporate Drive                       apply.
        Troy, MI 48098                                  Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)    Mortgage (PRINCIPAL)
      community debt

Date debt was incurred                                      Last 4 digits of account number         2003

2.5     Flagstar Bank, FSB                         Describe the property that secures the claim:                    $39,457.65        $229,210.00       $0.00
        Creditor's Name                            164 Lamore Court Winston Salem,
                                                   NC 27107 Davidson County
                                                   Value Determined by County Tax
                                                   Records
        Attn: Officer                              Joint
                                                   As of the date you file, the claim is: Check all that
        5151 Corporate Drive                       apply.
        Troy, MI 48098                                  Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)    PRINCIPAL
      community debt

Date debt was incurred                                      Last 4 digits of account number         2003




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                 page 3 of 5
                                           Case 22-50527                   Doc 1              Filed 09/13/22           Page 33 of 82
                                                                                                                                                     9/13/22 12:38PM



Debtor 1 Aric Richard Montgomery                                                                             Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 Charity Ann Montgomery
              First Name                  Middle Name                      Last Name


2.6     PenFed Credit Union                        Describe the property that secures the claim:                    $45,032.37        $30,667.50   $14,364.87
        Creditor's Name                            2019 Toyota Sienna 90,000 miles
                                                   VIN #: 5TDXZ3DC2KS999196
                                                   Includes: Rear Parking Sensors,
                                                   Power Sunroof
                                                   Value Determined by 90% of NADA
                                                   Clean Retail Value
        Attn: Officer                              Joint
                                                   As of the date you file, the claim is: Check all that
        7940 Jones Branch Drive                    apply.
        Mc Lean, VA 22102                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)
      community debt

                                11/2021
                                (Refinanced
Date debt was incurred          )                           Last 4 digits of account number         3969


2.7     Vive                                       Describe the property that secures the claim:                      $2,292.43         $150.00     $2,142.43
        Creditor's Name                            Household Goods & Furnishings:
                                                   Mattress
                                                   Value Determined by Used
        Attn: Officer                              Replacement Cost
        3605 Glenwood Avenue                       Joint
                                                   As of the date you file, the claim is: Check all that
        Suite 500                                  apply.
        Raleigh, NC 27612                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)    Non-Purchase Money Security
      community debt

Date debt was incurred          09/2021                     Last 4 digits of account number         4110




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 4 of 5
                                           Case 22-50527                   Doc 1              Filed 09/13/22           Page 34 of 82
                                                                                                                                                           9/13/22 12:38PM



Debtor 1 Aric Richard Montgomery                                                                             Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 Charity Ann Montgomery
              First Name                  Middle Name                      Last Name


        Wells Fargo Bank,
2.8                                                                                                                 $19,204.00           $27,360.00            $0.00
        National Association                       Describe the property that secures the claim:
        Creditor's Name                            2022 Kia Sportage 20,000 miles
                                                   VIN #: KNDPM3AC2N7995389
                                                   Includes: N/A
                                                   Value Determined by 90% of NADA
                                                   Clean Retail Value
        Attn: Officer                              Joint
                                                   As of the date you file, the claim is: Check all that
        101 N. Phillips Avenue                     apply.
        Sioux Falls, SD 57104                           Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)    Purchase Money Security
      community debt

Date debt was incurred          11/2021                     Last 4 digits of account number         4517


  Add the dollar value of your entries in Column A on this page. Write that number here:                                   $298,304.88
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                  $298,304.88

Part 2:     List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 5 of 5
                                          Case 22-50527                  Doc 1          Filed 09/13/22                 Page 35 of 82
                                                                                                                                                                      9/13/22 12:38PM


Fill in this information to identify your case:

Debtor 1                     Aric Richard Montgomery
                             First Name                    Middle Name                       Last Name

Debtor 2                     Charity Ann Montgomery
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                MIDDLE DISTRICT OF NORTH CAROLINA

Case number
(if known)                                                                                                                                             Check if this is an
                                                                                                                                                       amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim           Priority           Nonpriority
                                                                                                                                            amount             amount
2.1          Davidson County Tax Collector                       Last 4 digits of account number                                    $0.00              $0.00                 $0.00
             Priority Creditor's Name
             Attn: Officer or Managing Agent                     When was the debt incurred?
             913 Greensboro St.
             Lexington, NC 27292
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       Taxes Owed (Notice Only)




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 15
                                                                                                              41638
                                       Case 22-50527                  Doc 1          Filed 09/13/22               Page 36 of 82
                                                                                                                                             9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                        Case number (if known)

2.2       Internal Revenue Service                             Last 4 digits of account number                               $0.00   $0.00        $0.00
          Priority Creditor's Name
          Attn: Centralized Insolvency                         When was the debt incurred?
          Operation
          P.O. Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                           Contingent
          Debtor 1 only                                            Unliquidated
          Debtor 2 only                                            Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

          At least one of the debtors and another                  Domestic support obligations

          Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
          No                                                       Other. Specify
          Yes                                                                       Taxes Owed (Notice Only)

2.3       NC Department of Revenue                             Last 4 digits of account number                               $0.00   $0.00        $0.00
          Priority Creditor's Name
          Attn: Bankruptcy Dept.                               When was the debt incurred?
          Post Office Box 25000
          Raleigh, NC 27640
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                           Contingent
          Debtor 1 only                                            Unliquidated
          Debtor 2 only                                            Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

          At least one of the debtors and another                  Domestic support obligations

          Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
          No                                                       Other. Specify
          Yes                                                                       Taxes Owed (Notice Only)

2.4       United States Attorney's Office                      Last 4 digits of account number                               $0.00   $0.00        $0.00
          Priority Creditor's Name
          Middle District of North Carolina                    When was the debt incurred?
          101 S. Edgeworth Street - 4th
          Floor
          Greensboro, NC 27401
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                           Contingent
          Debtor 1 only                                            Unliquidated
          Debtor 2 only                                            Disputed
          Debtor 1 and Debtor 2 only                           Type of PRIORITY unsecured claim:

          At least one of the debtors and another                  Domestic support obligations

          Check if this claim is for a community debt              Taxes and certain other debts you owe the government
       Is the claim subject to offset?                             Claims for death or personal injury while you were intoxicated
          No                                                       Other. Specify
          Yes                                                                       Taxes Owed (Notice Only)


Part 2:      List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.


Official Form 106 E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                       Page 2 of 15
                                         Case 22-50527                   Doc 1           Filed 09/13/22                Page 37 of 82
                                                                                                                                                                           9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                           Case number (if known)

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        10 Cycles, LLC                                            Last 4 digits of account number         3435                                                        $7,200.00
           Nonpriority Creditor's Name
           Attn: Officer                                             When was the debt incurred?
           10501 Monroe Road
           Matthews, NC 28105
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

                No                                                      Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                     Other. Specify    Vehicle Purchase


4.2        Ally Lending                                              Last 4 digits of account number         9948                                                        $4,956.62
           Nonpriority Creditor's Name
           Attn: Officer                                             When was the debt incurred?
           PO BOx 9212
           Old Bethpage, NY 11804
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

                No                                                      Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                     Other. Specify    Personal Loan (Multiple)




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 3 of 15
                                       Case 22-50527             Doc 1           Filed 09/13/22             Page 38 of 82
                                                                                                                                                 9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                  Case number (if known)

4.3      Apple Card                                          Last 4 digits of account number       3435                                          $703.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 7247
         Philadelphia, PA 19170
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Card


4.4      Bank of America                                     Last 4 digits of account number       2133                                         $5,028.82
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 110564
         Durham, NC 27709
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Card (Judgment)


4.5      Boost Credit Line                                   Last 4 digits of account number       6326                                         $1,410.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         125 Mission Ranch Blvd.
         Chico, CA 95926
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Payday Loan




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 4 of 15
                                       Case 22-50527             Doc 1           Filed 09/13/22             Page 39 of 82
                                                                                                                                                 9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                  Case number (if known)

4.6      Capital One                                         Last 4 digits of account number       4343                                         $1,645.23
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 71083
         Charlotte, NC 28272
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Card (Multiple)


4.7      Credit First                                        Last 4 digits of account number       0626                                         $1,010.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 81344
         Cleveland, OH 44188
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Card


4.8      Credit One                                          Last 4 digits of account number       7966                                         $4,130.63
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 60500
         City of Industry, CA 91716
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Card (Multiple)




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 5 of 15
                                       Case 22-50527             Doc 1           Filed 09/13/22             Page 40 of 82
                                                                                                                                                  9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                  Case number (if known)

4.9      Cross River Bank                                    Last 4 digits of account number       5715                                         $10,572.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         885 Teaneck Road
         Teaneck, NJ 07666
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Personal Loan


4.1
0        Discover                                            Last 4 digits of account number       2121                                           $996.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 71242
         Charlotte, NC 28272
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Card


4.1
1        Eloan Wearhouse                                     Last 4 digits of account number       4305                                          $1,000.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 1753
         Hayward, WI 54843
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Personal Loan




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 15
                                       Case 22-50527             Doc 1           Filed 09/13/22             Page 41 of 82
                                                                                                                                                 9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                  Case number (if known)

4.1
2        Equifax, Inc                                        Last 4 digits of account number                                                         $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Notification                       When was the debt incurred?
         P.O. Box 740241
         Atlanta, GA 30374
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Bureau (Notice Only)


4.1
3        Experian                                            Last 4 digits of account number                                                         $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Notification                       When was the debt incurred?
         PO Box 9701
         Allen, TX 75013
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Bureau (Notice Only)


4.1
4        Finewise Bank                                       Last 4 digits of account number       0193                                         $9,100.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         756 E. Winchester Street, Suite 100
         Salt Lake City, UT 84107
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Personal Loan




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 7 of 15
                                       Case 22-50527             Doc 1           Filed 09/13/22             Page 42 of 82
                                                                                                                                                 9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                  Case number (if known)

4.1
5        Kevin Powell Motorsports                            Last 4 digits of account number                                                    $3,607.12
         Nonpriority Creditor's Name
                                                             When was the debt incurred?
         Attn: Officer
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Vehicle Purchase


4.1
6        Klarna                                              Last 4 digits of account number       1447                                          $480.93
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 206487
         Dallas, TX 75320
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Personal Loan


4.1
7        Kohl's                                              Last 4 digits of account number       7003                                         $1,607.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 60043
         Charlotte, NC 28201
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 8 of 15
                                       Case 22-50527             Doc 1           Filed 09/13/22             Page 43 of 82
                                                                                                                                                  9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                  Case number (if known)

4.1
8        Milestone/GPS                                       Last 4 digits of account number       0861                                           $507.36
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         P.O. Box 4499
         Beaverton, OR 97076
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Card


4.1
9        Mohela / Dept. of Education                         Last 4 digits of account number       6326                                         $38,367.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         633 Spirit Drive
         Chesterfield, MO 63005
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent

             Debtor 2 only                                      Unliquidated

             Debtor 1 and Debtor 2 only                         Disputed
                                                             Type of NONPRIORITY unsecured claim:
             At least one of the debtors and another
             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify
                                                                                  Student Loan
4.2
0        OneMain Financial Group, LLC                        Last 4 digits of account number       1979                                          $8,891.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         160 Mine Lake Ct. Ste. 200
         Raleigh, NC 27615
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Personal Loan




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 9 of 15
                                       Case 22-50527             Doc 1           Filed 09/13/22             Page 44 of 82
                                                                                                                                                 9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                  Case number (if known)

4.2
1        OPP Loans                                           Last 4 digits of account number       2107                                         $2,333.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         130 E Randolph Street, Suite 3400
         Chicago, IL 60601
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Personal Loan


4.2
2        Regional Finance                                    Last 4 digits of account number       9110                                         $9,029.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         5062 Peters Creek Parkway
         Winston Salem, NC 27127
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Personal Loan (Multiple)


4.2
3        Rosebud Lending LZO Zocaloans                       Last 4 digits of account number       3435                                         $1,000.00
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO BOx 1147
         Mission, SD 57555
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Personal Loan




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 10 of 15
                                       Case 22-50527             Doc 1           Filed 09/13/22             Page 45 of 82
                                                                                                                                                 9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                  Case number (if known)

4.2
4        Royalty                                             Last 4 digits of account number       6441                                         $1,711.64
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         1411 Plaza West Road
         Winston Salem, NC 27103
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Personal Loan


4.2
5        Spotloan                                            Last 4 digits of account number       7285                                         $3,668.55
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 720
         Belcourt, ND 58316
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Personal Loan (Multiple)


4.2
6        SRS Motorsports, Inc.                               Last 4 digits of account number       3435                                         $2,701.67
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         3112 Sands Dr.
         Greensboro, NC 27405
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Vehicle Purchase




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 11 of 15
                                       Case 22-50527             Doc 1           Filed 09/13/22             Page 46 of 82
                                                                                                                                                9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                  Case number (if known)

4.2
7        Synchrony Care Credit                               Last 4 digits of account number       5616                                          $726.81
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 960061
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Card


4.2
8        Synchrony Google Finance                            Last 4 digits of account number       1808                                           $42.62
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 960061
         Orlando, FL 32896
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Card


4.2
9        Transportation Alliance Bank                        Last 4 digits of account number       1790                                          $357.99
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         4185 Harrison Blvd.
         Ogden, UT 84403
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Personal Loan




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 12 of 15
                                       Case 22-50527             Doc 1           Filed 09/13/22             Page 47 of 82
                                                                                                                                                 9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                  Case number (if known)

4.3
0        TransUnion                                          Last 4 digits of account number                                                         $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Notification                       When was the debt incurred?
         P.O. Box 1000
         Crum Lynne, PA 19022
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Bureau (Notice Only)


4.3
1        Upgrade                                             Last 4 digits of account number       1035                                          $980.79
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         2 N Central Avenue, 10th Floor
         Phoenix, AZ 85004
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Credit Card


4.3
2        Verizon                                             Last 4 digits of account number       0001                                         $3,481.35
         Nonpriority Creditor's Name
         Attn: Officer                                       When was the debt incurred?
         PO Box 489
         Newark, NJ 07101
         Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                      Contingent
             Debtor 2 only                                      Unliquidated
             Debtor 1 and Debtor 2 only                         Disputed
             At least one of the debtors and another         Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community             Student loans
         debt                                                   Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                     report as priority claims

             No                                                 Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                Other. Specify    Utility Bill




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                            Page 13 of 15
                                        Case 22-50527              Doc 1           Filed 09/13/22              Page 48 of 82
                                                                                                                                                            9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                    Case number (if known)

4.3
3         Wake Forest Ambulatory Ventures                      Last 4 digits of account number       5281                                                 $3,185.00
          Nonpriority Creditor's Name
          Attn: Officer                                        When was the debt incurred?
          PO Box 110564
          Durham, NC 27709
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify    Medical Bill


4.3
4         Wake Forest Baptist Health                           Last 4 digits of account number       6099                                                    $761.39
          Nonpriority Creditor's Name
          Attn: Officer                                        When was the debt incurred?
          1 Medical Center Boulevard
          Winston Salem, NC 27157
          Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community              Student loans
          debt                                                    Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                      report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify    Medical Bill

Part 3:     List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Attn: Merrick Garland                                    Line 2.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attorney General of the U.S.                                                                        Part 2: Creditors with Nonpriority Unsecured Claims
US Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530-0001
                                                         Last 4 digits of account number

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
Carson Smithfield LLC                                    Line 4.2 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attn: Officer                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 660702
Dallas, TX 75266
                                                         Last 4 digits of account number                  9948

Name and Address                                         On which entry in Part 1 or Part 2 did you list the original creditor?
InDebted                                                 Line 4.9 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attn: Officer                                                                                       Part 2: Creditors with Nonpriority Unsecured Claims

Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 14 of 15
                                        Case 22-50527                    Doc 1        Filed 09/13/22               Page 49 of 82
                                                                                                                                                               9/13/22 12:38PM

Debtor 1 Aric Richard Montgomery
Debtor 2 Charity Ann Montgomery                                                                         Case number (if known)

PO BOx 1201
Farmington, MO 63640
                                                             Last 4 digits of account number                    5715

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
MNET Financial                                               Line 4.33 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
Attn: Officer                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
95 Argonaut St. Suite 200
Aliso Viejo, CA 92656
                                                             Last 4 digits of account number                    6326

Name and Address                                             On which entry in Part 1 or Part 2 did you list the original creditor?
Sessoms and Rogers PA                                        Line 4.4 of (Check one):                     Part 1: Creditors with Priority Unsecured Claims
Attn: Officer                                                                                            Part 2: Creditors with Nonpriority Unsecured Claims
PO Box 110564
Durham, NC 27709
                                                             Last 4 digits of account number                    3435

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                              Total Claim
                        6a.   Domestic support obligations                                                6a.       $                           0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.       $                           0.00

                                                                                                                              Total Claim
                        6f.   Student loans                                                               6f.       $                    38,367.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                 $                    92,825.52

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.       $                  131,192.52




Official Form 106 E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                       Page 15 of 15
                                         Case 22-50527                     Doc 1      Filed 09/13/22       Page 50 of 82
                                                                                                                                                      9/13/22 12:38PM


Fill in this information to identify your case:

Debtor 1                  Aric Richard Montgomery
                          First Name                         Middle Name                Last Name

Debtor 2                  Charity Ann Montgomery
(Spouse if, filing)       First Name                         Middle Name                Last Name


United States Bankruptcy Court for the:               MIDDLE DISTRICT OF NORTH CAROLINA

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
             No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


        Person or company with whom you have the contract or lease                        State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code
 2.1
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.2
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.3
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.4
          Name


          Number        Street

          City                                     State                   ZIP Code
 2.5
          Name


          Number        Street

          City                                     State                   ZIP Code




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
                                           Case 22-50527                       Doc 1    Filed 09/13/22      Page 51 of 82
                                                                                                                                                    9/13/22 12:38PM


Fill in this information to identify your case:

Debtor 1                   Aric Richard Montgomery
                           First Name                            Middle Name               Last Name

Debtor 2                   Charity Ann Montgomery
(Spouse if, filing)        First Name                            Middle Name               Last Name


United States Bankruptcy Court for the:                 MIDDLE DISTRICT OF NORTH CAROLINA

Case number
(if known)                                                                                                                           Check if this is an
                                                                                                                                     amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                           12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                                     Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                              Check all schedules that apply:

   3.1                                                                                                       Schedule D, line
               Name
                                                                                                             Schedule E/F, line
                                                                                                             Schedule G, line
               Number             Street
               City                                      State                              ZIP Code




   3.2                                                                                                       Schedule D, line
               Name
                                                                                                             Schedule E/F, line
                                                                                                             Schedule G, line
               Number             Street
               City                                      State                              ZIP Code




Official Form 106H                                                                     Schedule H: Your Codebtors                                 Page 1 of 1
                                      Case 22-50527            Doc 1     Filed 09/13/22            Page 52 of 82
                                                                                                                                               9/13/22 12:38PM




Fill in this information to identify your case:

Debtor 1                      Aric Richard Montgomery

Debtor 2                      Charity Ann Montgomery
(Spouse, if filing)

United States Bankruptcy Court for the:       MIDDLE DISTRICT OF NORTH CAROLINA

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                              12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                  Employed                                  Employed
       attach a separate page with           Employment status
       information about additional                                    Not employed                              Not employed
       employers.
                                             Occupation                                                       Registered Nurse
       Include part-time, seasonal, or
       self-employed work.                   Employer's name                                                  Hospice of Surry County

       Occupation may include student        Employer's address
                                                                                                              1427 Edgewood Drive, Suite 101
       or homemaker, if it applies.
                                                                                                              Mount Airy, NC 27030

                                             How long employed there?                                                  9 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $          6,199.73

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $    6,199.73




Official Form 106I                                                      Schedule I: Your Income                                                  page 1
                                Case 22-50527               Doc 1       Filed 09/13/22               Page 53 of 82
                                                                                                                                                     9/13/22 12:38PM




Debtor 1   Aric Richard Montgomery
Debtor 2   Charity Ann Montgomery                                                                Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $         6,199.73

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $              0.00     $           803.12
     5b.    Mandatory contributions for retirement plans                                  5b.        $              0.00     $             0.00
     5c.    Voluntary contributions for retirement plans                                  5c.        $              0.00     $           224.46
     5d.    Required repayments of retirement fund loans                                  5d.        $              0.00     $             0.00
     5e.    Insurance                                                                     5e.        $              0.00     $           524.66
     5f.    Domestic support obligations                                                  5f.        $              0.00     $             0.00
     5g.    Union dues                                                                    5g.        $              0.00     $             0.00
     5h.    Other deductions. Specify:                                                    5h.+       $              0.00 +   $             0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $        1,552.24
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $        4,647.49
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $          0.00         $           550.00
     8d. Unemployment compensation                                                        8d.        $          0.00         $             0.00
     8e. Social Security                                                                  8e.        $      1,097.70         $             0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                  0.00
     8g. Pension or retirement income                                                     8g. $                 0.00   $                  0.00
     8h. Other monthly income. Specify: VA Disability                                     8h.+ $            4,718.91 + $              2,254.43
            Pro Rated Tax Refund                                                               $              250.00   $                250.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          6,066.61         $           3,054.43

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              6,066.61 + $         7,701.92 = $           13,768.53
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                        0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.    $          13,768.53
                                                                                                                                          Combined
                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                         page 2
                                    Case 22-50527                Doc 1             Filed 09/13/22          Page 54 of 82
                                                                                                                                                        9/13/22 12:38PM




Fill in this information to identify your case:

Debtor 1                 Aric Richard Montgomery                                                             Check if this is:
                                                                                                                 An amended filing
Debtor 2                 Charity Ann Montgomery                                                                  A supplement showing postpetition chapter
(Spouse, if filing)                                                                                              13 expenses as of the following date:

United States Bankruptcy Court for the:   MIDDLE DISTRICT OF NORTH CAROLINA                                            MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for     Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............      Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                         No
      dependents names.                                                              Daughter                             5                    Yes
                                                                                                                                               No
                                                                                     Daughter                             9                    Yes
                                                                                                                                               No
                                                                                     Son                                  11                   Yes
                                                                                                                                               No
                                                                                     Son                                  15                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                          Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                            4. $                                   0.00

      If not included in line 4:

      4a. Real estate taxes                                                                                 4a.    $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                      4b.    $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                     4c.    $                            300.00
      4d. Homeowner’s association or condominium dues                                                       4d.    $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.    $                              0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                               page 1
                                  Case 22-50527                 Doc 1          Filed 09/13/22              Page 55 of 82
                                                                                                                                                           9/13/22 12:38PM




Debtor 1     Aric Richard Montgomery
Debtor 2     Charity Ann Montgomery                                                                    Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                500.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 75.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                500.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             1,600.00
8.    Childcare and children’s education costs                                                 8. $                                               300.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               150.00
10.   Personal care products and services                                                    10. $                                                150.00
11.   Medical and dental expenses                                                            11. $                                                400.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 600.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 140.00
14.   Charitable contributions and religious donations                                       14. $                                                  50.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                   70.00
      15c. Vehicle insurance                                                               15c. $                                                  208.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Vehicle Tax                                                                   16. $                                                  50.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pet                                                                 21. +$                                                 50.00
      Miscellaneous Expenses                                                                      +$                                               200.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,343.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,343.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                              13,768.53
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,343.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              8,425.53

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
                                         Case 22-50527          Doc 1   Filed 09/13/22         Page 56 of 82
                                                                                                                                            9/13/22 12:38PM




Fill in this information to identify your case:

Debtor 1                    Aric Richard Montgomery
                            First Name            Middle Name              Last Name

Debtor 2                    Charity Ann Montgomery
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:       MIDDLE DISTRICT OF NORTH CAROLINA

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Aric Richard Montgomery                                       X   /s/ Charity Ann Montgomery
             Aric Richard Montgomery                                           Charity Ann Montgomery
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       September 13, 2022                                     Date    September 13, 2022




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules
                                          Case 22-50527             Doc 1       Filed 09/13/22             Page 57 of 82
                                                                                                                                                       9/13/22 12:38PM




Fill in this information to identify your case:

Debtor 1                  Aric Richard Montgomery
                          First Name                  Middle Name                   Last Name

Debtor 2                  Charity Ann Montgomery
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          MIDDLE DISTRICT OF NORTH CAROLINA

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until             Wages, commissions,                              $0.00          Wages, commissions,                $44,785.50
the date you filed for bankruptcy:             bonuses, tips                                                  bonuses, tips
                                                  Operating a business                                           Operating a business




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
                                       Case 22-50527          Doc 1         Filed 09/13/22             Page 58 of 82
                                                                                                                                             9/13/22 12:38PM

Debtor 1     Aric Richard Montgomery
Debtor 2     Charity Ann Montgomery                                                               Case number (if known)


                                           Debtor 1                                                       Debtor 2
                                           Sources of income               Gross income                   Sources of income         Gross income
                                           Check all that apply.           (before deductions and         Check all that apply.     (before deductions
                                                                           exclusions)                                              and exclusions)

For last calendar year:                      Wages, commissions,                              $0.00          Wages, commissions,          $66,391.47
(January 1 to December 31, 2021 )          bonuses, tips                                                  bonuses, tips
                                              Operating a business                                           Operating a business

For the calendar year before that:           Wages, commissions,                              $0.00          Wages, commissions,          $22,064.00
(January 1 to December 31, 2020 )          bonuses, tips                                                  bonuses, tips
                                              Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                           Debtor 1                                                       Debtor 2
                                           Sources of income               Gross income from              Sources of income         Gross income
                                           Describe below.                 each source                    Describe below.           (before deductions
                                                                           (before deductions and                                   and exclusions)
                                                                           exclusions)
From January 1 of current year until VA Benefits                                       $56,627.00         VA Benefits                      $20,290.00
the date you filed for bankruptcy:


                                           Social Security                             $13,172.00
                                           Benefits

                                                                                              $0.00       Child Support                      $4,950.00

For last calendar year:                    VA Benefits                                 $54,732.00         VA Benefits                      $25,680.00
(January 1 to December 31, 2021 )


                                           Social Security                             $12,078.00
                                           Benefits

                                                                                              $0.00       Withdrawal from                    $2,039.00
                                                                                                          retirement account

                                                                                              $0.00       Child Support                      $6,600.00

For the calendar year before that:         VA Benefits                                 $54,000.00         VA Benefits                      $25,200.00
(January 1 to December 31, 2020 )


                                           Social Security                             $12,271.00
                                           Benefits

                                                                                              $0.00       Child Support                      $6,600.00




Official Form 107                             Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
                                     Case 22-50527                Doc 1         Filed 09/13/22             Page 59 of 82
                                                                                                                                                    9/13/22 12:38PM

Debtor 1     Aric Richard Montgomery
Debtor 2     Charity Ann Montgomery                                                                   Case number (if known)


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                         Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                paid            still owe
      Ally Bank                                           06/2022, 07/2022                 $1,198.28          $16,115.00         Mortgage
      Attn: Officer                                                                                                              Car
      200 West Civic Centre Drive, Suite
                                                                                                                                 Credit Card
      201
                                                                                                                                 Loan Repayment
      Sandy, UT 84070
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other


      PenFed Credit Union                                 08/2022                          $2,875.00          $45,032.37         Mortgage
      Attn: Officer                                                                                                              Car
      7940 Jones Branch Drive
                                                                                                                                 Credit Card
      Mc Lean, VA 22102
                                                                                                                                 Loan Repayment
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Other


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 3
                                       Case 22-50527                 Doc 1         Filed 09/13/22             Page 60 of 82
                                                                                                                                                         9/13/22 12:38PM

Debtor 1     Aric Richard Montgomery
Debtor 2     Charity Ann Montgomery                                                                      Case number (if known)


     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                             Nature of the case           Court or agency                          Status of the case
      Case number

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                        Value of the
                                                                                                                                                           property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was                Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                    Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                         Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your         Value of property
      how the loss occurred                              Include the amount that insurance has paid. List pending           loss                              lost
                                                         insurance claims on line 33 of Schedule A/B: Property.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 4
                                       Case 22-50527                 Doc 1         Filed 09/13/22             Page 61 of 82
                                                                                                                                                      9/13/22 12:38PM

Debtor 1      Aric Richard Montgomery
Debtor 2      Charity Ann Montgomery                                                                     Case number (if known)


Part 7:       List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment             Amount of
      Address                                                      transferred                                              or transfer was           payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Duncan Law, LLP                                              Attorney Fees: $500                                      09/2022                    $838.00
      628 Green Valley Rd. #304                                    Filing Fee: $313
      Greensboro, NC 27408                                         Credit Counseling: $25
      DamonDuncan@DuncanLawOnline.co
      m


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment             Amount of
      Address                                                      transferred                                              or transfer was           payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or        Date transfer was
      Address                                                      property transferred                       payments received or debts      made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                          Date Transfer was
                                                                                                                                              made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
         No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was             Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,            before closing or
      Code)                                                                                                           moved, or                         transfer
                                                                                                                      transferred




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5
                                     Case 22-50527                   Doc 1           Filed 09/13/22            Page 62 of 82
                                                                                                                                                9/13/22 12:38PM

Debtor 1      Aric Richard Montgomery
Debtor 2      Charity Ann Montgomery                                                                      Case number (if known)


      Name of Financial Institution and                      Last 4 digits of               Type of account or        Date account was       Last balance
      Address (Number, Street, City, State and ZIP           account number                 instrument                closed, sold,      before closing or
      Code)                                                                                                           moved, or                   transfer
                                                                                                                      transferred
      Woodforest Bank                                        XXXX-4670                          Checking              06/2022                        $0.00
      Attn: Officer                                                                             Savings
      1330 Lake Robbins Drive
                                                                                                Money Market
      The Woodlands, TX 77380
                                                                                                Brokerage
                                                                                                Other

      USAA                                                   XXXX-3906                          Checking              04/2022                        $0.00
      Attn: Officer                                                                             Savings
      10750 McDermott Freeway
                                                                                                Money Market
      San Antonio, TX 78288
                                                                                                Brokerage
                                                                                                Other


21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                                Who else had access to it?             Describe the contents          Do you still
      Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City,                                        have it?
                                                                   State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                     Who else has or had access             Describe the contents          Do you still
      Address (Number, Street, City, State and ZIP Code)           to it?                                                                have it?
                                                                   Address (Number, Street, City,
                                                                   State and ZIP Code)

Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                                 Where is the property?                 Describe the property                      Value
      Address (Number, Street, City, State and ZIP Code)           (Number, Street, City, State and ZIP
                                                                   Code)

Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 6
                                        Case 22-50527              Doc 1          Filed 09/13/22                Page 63 of 82
                                                                                                                                                       9/13/22 12:38PM

Debtor 1     Aric Richard Montgomery
Debtor 2     Charity Ann Montgomery                                                                         Case number (if known)


24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you         Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
           Yes. Fill in the details.
      Case Title                                                 Court or agency                            Nature of the case                   Status of the
      Case Number                                                Name                                                                            case
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 11:    Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

               A member of a limited liability company (LLC) or limited liability partnership (LLP)

               A partner in a partnership

               An officer, director, or managing executive of a corporation

               An owner of at least 5% of the voting or equity securities of a corporation

           No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
      Business Name                                        Describe the nature of the business                   Employer Identification number
      Address                                                                                                    Do not include Social Security number or ITIN.
      (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                                 Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

           No
           Yes. Fill in the details below.
      Name                                                 Date Issued
      Address
      (Number, Street, City, State and ZIP Code)




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 7
                               Case 22-50527              Doc 1         Filed 09/13/22             Page 64 of 82
                                                                                                                                    9/13/22 12:38PM

Debtor 1     Aric Richard Montgomery
Debtor 2     Charity Ann Montgomery                                                           Case number (if known)


Part 12:    Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Aric Richard Montgomery                                 /s/ Charity Ann Montgomery
Aric Richard Montgomery                                     Charity Ann Montgomery
Signature of Debtor 1                                       Signature of Debtor 2

Date     September 13, 2022                                 Date     September 13, 2022

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person        . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 8
                                     Case 22-50527                 Doc 1        Filed 09/13/22              Page 65 of 82
                                                                                                                                                            9/13/22 12:38PM




Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

Debtor 1              Aric Richard Montgomery                                                                 According to the calculations required by this
                                                                                                              Statement:
Debtor 2              Charity Ann Montgomery                                                                        1. Disposable income is not determined under
(Spouse, if filing)
                                                                                                                       11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the:        Middle District of North Carolina                                    2. Disposable income is determined under 11
                                                                                                                       U.S.C. § 1325(b)(3).
Case number
(if known)
                                                                                                                    3. The commitment period is 3 years.

                                                                                                                    4. The commitment period is 5 years.

                                                                                                                  Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                              10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married. Fill out both Columns A and B, lines 2-11.


   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                 Column B
                                                                                                      Debtor 1                 Debtor 2 or
                                                                                                                               non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                                0.00      $         6,199.73
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                           $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                             0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                           Debtor 1
       Gross receipts (before all deductions)                         $       0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                    0.00      $               0.00
  6. Net income from rental and other real property                Debtor 1
       Gross receipts (before all deductions)                        $      0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from rental or other real property         $        0.00 Copy here -> $                    0.00      $               0.00




Official Form 122C-1          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 1
                                    Case 22-50527                Doc 1       Filed 09/13/22                 Page 66 of 82
                                                                                                                                                             9/13/22 12:38PM



Debtor 1     Aric Richard Montgomery
Debtor 2     Charity Ann Montgomery                                                                    Case number (if known)



                                                                                                   Column A                      Column B
                                                                                                   Debtor 1                      Debtor 2 or
                                                                                                                                 non-filing spouse
                                                                                                   $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                     $                  0.00       $           0.00
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
           For your spouse                                       $                  0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any retired
     pay paid under chapter 61 of title 10, then include that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be entitled
     if retired under any provision of title 10 other than chapter 61 of that title.         $                        0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below.
                Child Support                                                                      $                  0.00       $         550.00
                                                                                                   $                  0.00       $           0.00
                Total amounts from separate pages, if any.                                     +   $                  0.00       $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $                 0.00        +   $      6,749.73    =    $      6,749.73

                                                                                                                                                     Total average
                                                                                                                                                     monthly income
Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                   $          6,749.73
  13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
             dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
             adjustments on a separate page.
             If this adjustment does not apply, enter 0 below.
                                                                                           $
                                                                                           $
                                                                                      +$

                   Total                                                               $                      0.00           Copy here=>         -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                            $          6,749.73

  15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here=>                                                                                                              $          6,749.73



Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                          page 2
                                     Case 22-50527                  Doc 1           Filed 09/13/22              Page 67 of 82
                                                                                                                                                                 9/13/22 12:38PM



Debtor 1     Aric Richard Montgomery
Debtor 2     Charity Ann Montgomery                                                                        Case number (if known)


               Multiply line 15a by 12 (the number of months in a year).                                                                                 x 12

       15b. The result is your current monthly income for the year for this part of the form. ...........................................            $     80,996.76


  16. Calculate the median family income that applies to you. Follow these steps:
      16a. Fill in the state in which you live.                                NC

      16b. Fill in the number of people in your household.                      6
      16c. Fill in the median family income for your state and size of household.                                                                    $    114,069.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
      17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).
      17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                    1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                    your current monthly income from line 14 above.
Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 .                                                                                   $                   6,749.73
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
    contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
    spouse's income, copy the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                   -$                       0.00


      19b. Subtract line 19a from line 18.                                                                                                       $          6,749.73


20. Calculate your current monthly income for the year. Follow these steps:
      20a. Copy line 19b                                                                                                                             $      6,749.73

             Multiply by 12 (the number of months in a year).                                                                                            x 12

      20b. The result is your current monthly income for the year for this part of the form                                                          $     80,996.76




      20c. Copy the median family income for your state and size of household from line 16c                                                          $    114,069.00


      21. How do the lines compare?

                  Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                  period is 3 years. Go to Part 4.

                  Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                  commitment period is 5 years. Go to Part 4.

Part 4:       Sign Below
      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

   X /s/ Aric Richard Montgomery                                                          X /s/ Charity Ann Montgomery
       Aric Richard Montgomery                                                                Charity Ann Montgomery
       Signature of Debtor 1                                                                  Signature of Debtor 2
      Date September 13, 2022                                                                 Date September 13, 2022
           MM / DD / YYYY                                                                          MM / DD / YYYY
      If you checked 17a, do NOT fill out or file Form 122C-2.

Official Form 122C-1        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                               page 3
                                  Case 22-50527              Doc 1        Filed 09/13/22             Page 68 of 82
                                                                                                                                                9/13/22 12:38PM



Debtor 1   Aric Richard Montgomery
Debtor 2   Charity Ann Montgomery                                                               Case number (if known)


      If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1      Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 4
                             Case 22-50527           Doc 1      Filed 09/13/22         Page 69 of 82
                                                                                                                  9/13/22 12:38PM



Debtor 1   Aric Richard Montgomery
Debtor 2   Charity Ann Montgomery                                                 Case number (if known)




                                    Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 03/01/2022 to 08/31/2022.

Non-CMI - VA Income
Source of Income: VA Disability
Income by Month:
 6 Months Ago:                     03/2022                $4,718.91
 5 Months Ago:                     04/2022                $4,718.91
 4 Months Ago:                     05/2022                $4,718.91
 3 Months Ago:                     06/2022                $4,718.91
 2 Months Ago:                     07/2022                $4,718.91
 Last Month:                       08/2022                $4,718.91
                        Average per month:                $4,718.91




Non-CMI - Social Security Act Income
Source of Income: Social Security
Income by Month:
 6 Months Ago:                     03/2022                $1,097.70
 5 Months Ago:                     04/2022                $1,097.70
 4 Months Ago:                     05/2022                $1,097.70
 3 Months Ago:                     06/2022                $1,097.70
 2 Months Ago:                     07/2022                $1,097.70
 Last Month:                       08/2022                $1,097.70
                        Average per month:                $1,097.70




Official Form 122C-1   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period     page 5
                             Case 22-50527           Doc 1      Filed 09/13/22         Page 70 of 82
                                                                                                                  9/13/22 12:38PM



Debtor 1   Aric Richard Montgomery
Debtor 2   Charity Ann Montgomery                                                 Case number (if known)


                              Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 03/01/2022 to 08/31/2022.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Hospice of Surry County
Income by Month:
 6 Months Ago:                     03/2022                $5,823.86
 5 Months Ago:                     04/2022                $8,350.01
 4 Months Ago:                     05/2022                $5,283.50
 3 Months Ago:                     06/2022                $5,953.00
 2 Months Ago:                     07/2022                $5,547.00
 Last Month:                       08/2022                $6,241.00
                        Average per month:                $6,199.73




Line 10 - Income from all other sources
Source of Income: Child Support
Income by Month:
 6 Months Ago:                     03/2022                  $550.00
 5 Months Ago:                     04/2022                  $550.00
 4 Months Ago:                     05/2022                  $550.00
 3 Months Ago:                     06/2022                  $550.00
 2 Months Ago:                     07/2022                  $550.00
 Last Month:                       08/2022                  $550.00
                        Average per month:                  $550.00




Non-CMI - VA Income
Source of Income: VA Disability
Income by Month:
 6 Months Ago:                     03/2022                $2,254.43
 5 Months Ago:                     04/2022                $2,254.43
 4 Months Ago:                     05/2022                $2,254.43
 3 Months Ago:                     06/2022                $2,254.43
 2 Months Ago:                     07/2022                $2,254.43
 Last Month:                       08/2022                $2,254.43
                        Average per month:                $2,254.43




Official Form 122C-1   Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period     page 6
                                   Case 22-50527                Doc 1        Filed 09/13/22        Page 71 of 82
                                                                                                                                      9/13/22 12:38PM




Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                  for family farmers or                                                   certain kinds of improper conduct described in the
                  fishermen                                                               Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                  for individuals with regular                                            You should know that even if you file chapter 7 and
                  income                                                                  you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                      page 1
                                   Case 22-50527                Doc 1        Filed 09/13/22            Page 72 of 82
                                                                                                                                           9/13/22 12:38PM




       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 2
                                   Case 22-50527                Doc 1        Filed 09/13/22           Page 73 of 82
                                                                                                                                             9/13/22 12:38PM



       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                             page 3
                                   Case 22-50527                Doc 1        Filed 09/13/22           Page 74 of 82
                                                                                                                                          9/13/22 12:38PM



                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                          page 4
                                    Case 22-50527               Doc 1       Filed 09/13/22            Page 75 of 82
                                                                                                                                               9/13/22 12:38PM

B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                           Middle District of North Carolina
             Aric Richard Montgomery
 In re       Charity Ann Montgomery                                                                           Case No.
                                                                              Debtor(s)                       Chapter       13

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  4,500.00
             Prior to the filing of this statement I have received                                        $                      500.00
             Balance Due                                                                                  $                  4,000.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a.     Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b.     Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c.     Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d.     [Other provisions as needed]
                 Negotiations with secured creditors to reduce to market value; exemption planning; preparation and filing of
                 reaffirmation agreements and applications as needed; preparation and filing of motions pursuant to 11 USC
                 522(f)(2)(A) for avoidance of liens on household goods.

6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     September 13, 2022                                                       /s/ Damon T. Duncan
     Date                                                                     Damon T. Duncan
                                                                              Signature of Attorney
                                                                              Duncan Law, LLP
                                                                              628 Green Valley Rd. #304
                                                                              Greensboro, NC 27408
                                                                              336-856-1234 Fax: 336-358-4950
                                                                              DamonDuncan@DuncanLawOnline.com
                                                                              Name of law firm
                             Case 22-50527            Doc 1      Filed 09/13/22         Page 76 of 82
                                                                                                                                9/13/22 12:38PM




                                              United States Bankruptcy Court
                                                Middle District of North Carolina
         Aric Richard Montgomery
 In re   Charity Ann Montgomery                                                                Case No.
                                                                   Debtor(s)                   Chapter     13




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: September 13, 2022                               /s/ Aric Richard Montgomery
                                                       Aric Richard Montgomery
                                                       Signature of Debtor

Date: September 13, 2022                               /s/ Charity Ann Montgomery
                                                       Charity Ann Montgomery
                                                       Signature of Debtor
    Case 22-50527   Doc 1   Filed 09/13/22   Page 77 of 82



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          10 Cycles, LLC
          Attn: Officer
          10501 Monroe Road
          Matthews, NC 28105


          Ally Bank
          Attn: Officer
          200 West Civic Centre Drive, Suite 201
          Sandy, UT 84070


          Ally Lending
          Attn: Officer
          PO BOx 9212
          Old Bethpage, NY 11804


          Apple Card
          Attn: Officer
          PO Box 7247
          Philadelphia, PA 19170


          Attn: Merrick Garland
          Attorney General of the U.S.
          US Department of Justice
          950 Pennsylvania Avenue NW
          Washington, DC 20530-0001


          Badcock Home Furniture & More
          Attn: Officer
          1409 10th Street
          Lake Park, FL 33403


          Bank of America
          Attn: Officer
          PO Box 110564
          Durham, NC 27709


          Boost Credit Line
          Attn: Officer
          125 Mission Ranch Blvd.
          Chico, CA 95926


          Capital One
          Attn: Officer
          PO Box 71083
          Charlotte, NC 28272
Case 22-50527   Doc 1   Filed 09/13/22   Page 78 of 82




      Carson Smithfield LLC
      Attn: Officer
      PO Box 660702
      Dallas, TX 75266


      Conn's, Inc.
      Attn: Officer
      2445 Technology Forest Blvd., Suite 800
      The Woodlands, TX 77381


      Credit First
      Attn: Officer
      PO Box 81344
      Cleveland, OH 44188


      Credit One
      Attn: Officer
      PO Box 60500
      City of Industry, CA 91716


      Cross River Bank
      Attn: Officer
      885 Teaneck Road
      Teaneck, NJ 07666


      Davidson County Tax Collector
      Attn: Officer or Managing Agent
      913 Greensboro St.
      Lexington, NC 27292


      Discover
      Attn: Officer
      PO Box 71242
      Charlotte, NC 28272


      Eloan Wearhouse
      Attn: Officer
      PO Box 1753
      Hayward, WI 54843


      Equifax, Inc
      Attn: Bankruptcy Notification
      P.O. Box 740241
      Atlanta, GA 30374
Case 22-50527   Doc 1   Filed 09/13/22   Page 79 of 82




      Experian
      Attn: Bankruptcy Notification
      PO Box 9701
      Allen, TX 75013


      Finewise Bank
      Attn: Officer
      756 E. Winchester Street, Suite 100
      Salt Lake City, UT 84107


      Flagstar Bank, FSB
      Attn: Officer
      5151 Corporate Drive
      Troy, MI 48098


      InDebted
      Attn: Officer
      PO BOx 1201
      Farmington, MO 63640


      Internal Revenue Service
      Attn: Centralized Insolvency Operation
      P.O. Box 7346
      Philadelphia, PA 19101-7346


      Kevin Powell Motorsports
      Attn: Officer


      Klarna
      Attn: Officer
      PO Box 206487
      Dallas, TX 75320


      Kohl's
      Attn: Officer
      PO Box 60043
      Charlotte, NC 28201


      Milestone/GPS
      Attn: Officer
      P.O. Box 4499
      Beaverton, OR 97076
Case 22-50527   Doc 1   Filed 09/13/22   Page 80 of 82




      MNET Financial
      Attn: Officer
      95 Argonaut St. Suite 200
      Aliso Viejo, CA 92656


      Mohela / Dept. of Education
      Attn: Officer
      633 Spirit Drive
      Chesterfield, MO 63005


      NC Department of Revenue
      Attn: Bankruptcy Dept.
      Post Office Box 25000
      Raleigh, NC 27640


      OneMain Financial Group, LLC
      Attn: Officer
      160 Mine Lake Ct. Ste. 200
      Raleigh, NC 27615


      OPP Loans
      Attn: Officer
      130 E Randolph Street, Suite 3400
      Chicago, IL 60601


      PenFed Credit Union
      Attn: Officer
      7940 Jones Branch Drive
      Mc Lean, VA 22102


      Regional Finance
      Attn: Officer
      5062 Peters Creek Parkway
      Winston Salem, NC 27127


      Rosebud Lending LZO Zocaloans
      Attn: Officer
      PO BOx 1147
      Mission, SD 57555


      Royalty
      Attn: Officer
      1411 Plaza West Road
      Winston Salem, NC 27103
Case 22-50527   Doc 1   Filed 09/13/22   Page 81 of 82




      Sessoms and Rogers PA
      Attn: Officer
      PO Box 110564
      Durham, NC 27709


      Spotloan
      Attn: Officer
      PO Box 720
      Belcourt, ND 58316


      SRS Motorsports, Inc.
      Attn: Officer
      3112 Sands Dr.
      Greensboro, NC 27405


      Synchrony Care Credit
      Attn: Officer
      PO Box 960061
      Orlando, FL 32896


      Synchrony Google Finance
      Attn: Officer
      PO Box 960061
      Orlando, FL 32896


      Transportation Alliance Bank
      Attn: Officer
      4185 Harrison Blvd.
      Ogden, UT 84403


      TransUnion
      Attn: Bankruptcy Notification
      P.O. Box 1000
      Crum Lynne, PA 19022


      United States Attorney's Office
      Middle District of North Carolina
      101 S. Edgeworth Street - 4th Floor
      Greensboro, NC 27401


      Upgrade
      Attn: Officer
      2 N Central Avenue, 10th Floor
      Phoenix, AZ 85004
Case 22-50527   Doc 1   Filed 09/13/22   Page 82 of 82




      Verizon
      Attn: Officer
      PO Box 489
      Newark, NJ 07101


      Vive
      Attn: Officer
      3605 Glenwood Avenue Suite 500
      Raleigh, NC 27612


      Wake Forest Ambulatory Ventures
      Attn: Officer
      PO Box 110564
      Durham, NC 27709


      Wake Forest Baptist Health
      Attn: Officer
      1 Medical Center Boulevard
      Winston Salem, NC 27157


      Wells Fargo Bank, National Association
      Attn: Officer
      101 N. Phillips Avenue
      Sioux Falls, SD 57104
